       Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 1 of 41
                                                                                                E$ILED IN OFFICE - EP
                                                                                              CLERK OF STATE COURT
                                                                                         GWNNETTCOUNTY, GEORGIA
                                                                                                   21-C.05742€3
                                                                                               8131202112:3E PM
                                                                                             TIAiIA P. GARNER, CLERK

                       IN TTIE STATE COTI.RT OF GWINNETT COUNTY
                                   STATE OF GEORGIA

 MARISOL VACA as natural parent, gdardian,
 and noxt friend of Minor Y.G.V.,
                                                        JT]RY TRIAL DEMAhIDED
                              Plainti{

 vs.                                                    CIVL ACTION 21€{5742€3
                                                        FILE NO.
 QUTKTRTP CORPORATION,

                              Defendants.




 PLAINTTFT'S FTRST,REOUE STS FOR ADMTSSTON_IO OUTKTRTP CORPORATION

         COMES NOW, Plaintiff MARISOL VACA as natural parent, guardian, and next friend            of

Minor Y.G.V., by and through her counsel of record, and submits the following written Requests

for Admission to Defendant QuikTrip Corporation (hereinafter "QuikTrip" or "Defendanf'),

pursuant to O.C.G.A. $    9-l l-36.

         Answers to these Requests for Admission shall be served upon the attorney for the   Plaintiff

at the offices of Payne   &   du Toit, 2275 Mafietta Blvd NW, Suite 27A-245, Atlanta, GA 30318-

2019 no later than forly-five (45) days after sewice of these Requests upon Defendant.

                                            DEFIMTIONS

         As used herein, the terms listed below are defined as follows:

   1. "$$jgg-@!gg,"             means QuikTrip Store No.   7l4,the retail premises located at 1515

         Beaver Ruin Road, Norcross, GA 30093.

   2...$!i.9@,!''meansthefalldescribedinPlaintif,f'sComplaintthattookplaceon
         June 13, 202O atthe Subject Premises.




                                                                                                  EXHIBIT

                                                                                                    B
    Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 2 of 41




   3. "P!gg4f'means           Plaintiff Marisol Vaca as natural parent, guardian, and next friend of

       minor Y.G.V..

                                    REOIIESTS FOR ADMISSION

                                               t.

       Please admit that you have been correctly naned as a party defendant           in the present   case


insofar as the legal designation of name is concerned.

                                               2.

       Please admit that venue      for this lawsuit is proper in Gwinnett County-

                                               3.


       Please admit that you have been properly served             with a copy of the Complaint in this

lawsuit.

                                               4.

           Please admit that the Court in which the present action is pending does, in fact, have subject

matter jurisdiction of the present calrse.

                                               5.


           Please admit that on June 13, 2020, you were in legal possession of the Subject Premises.

                                               6.

           Please admit that on June 13, 2020,yor; owned and operated the Subject Premises.

                                      ------,.r1   :


           Please admit that on June 13, 2020,     Y.G.V. fell at the Subject Premises.

                                               8.


           Please admit that on June 13, 2020,         Y.G.V. slipped on a wet slippery substance at the

Subject Premises, which caused her to fall.



                                                         2
    Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 3 of 41




                                           9.

       Please ad:nit that on June 13, 2020, there were individuals employed by you, who were

working within the course and scope of their employment, in the immediate vicinity at the time of

Y.G.V.'s fall at the Subject Premises.

                                           10.


       Please admit that on June 13, 2020, for several hours prior to Y.G.V.'s    fall, there were

individuals employed by you, who wereworkingwithinthe course and scope oftheir employment,

in the immediate vicinity of the area in which Y.G.V. fell.

                                           ll.
        Please admit that on June 13, 2020, there were individuals employed by you, who were

working within the course and scope of their employarent, in the immediate vicinity of Y.G.V.'s

fall prior to the time that Y.G.V. fell.

                                           12.

        Please admit that on June 13, 2020, there were individuals employed by you, who were

working within the course and scope of their employment in the immediate vicinity of Y.G.V.'s

fall prior to the time that Y.G.V. fell, who saw the wet slippery substance on the ground prior to

Y.G,V.'s fall.

                                           13.


       Please adurit-that"on June.13, 2020, therc'were'individuals employed-by    youiwho were-      -
working within the coruse and scope of their employmen! in the immediate vicinity of Y.G.V.'s

fall prior to the time that Y.G.V.fell, who should have seen the wet shppery substance on the

ground prior to Y.G.V.'s fall.




                                                 3
        Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 4 of 41

d




                                                  14.

            Please admit that   Y.G.V. was an invitee on the Subject Premises at the time of the incident

    in question.

                                                  15.


            Please admit that at the time in question, there were a wet slippery substance on the ground

    in the area of Y.G.V.'s fall of the Subject Premises.

                                                  16.


            Please admit that the wet slippery substance which caused Y.G.V.'s            fall were within

    eyesight of individuals employed by you, who were working within the course and scope of their

    employment at the time of the Subject Incident.

                                                  17.

            Please admit that individuals employed by you, who were working        withh the course        and

    scope of their employment at the time of the Subject Incident, had an opportunity to clean up the

    a wet slippery subsance     prior to the occrurence of the Subject Incident.

                                                  18.


            Please admit that on June 13, 2020,   PlaintiffY.G.V. sustained injuries   as a result   of the fall

    dEssribed in the Complaint.

                                                  19.

            Please admit lhal -Plaittiff-was .not.conhibutorily negligent with-regard'       ts'the Subject'

    Incident.




                                                        4
            Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 5 of 41

    J

?


                                                   20.

               Please admit that you were responsible for keeping the Subject Premises safe at the time

        that Plaintiffwas present on June 13,2020.

                                                   2L'.

               Please admit that your acts ofnegligence and breach of duty to keep the premises safe were

        the sole and proximate cause of the injuries sustained by Plaintiff.

                                                   22.

               Please admit that Defendants were aware           or should have been aware of the hazardous

        condition which existed on the floor and caused Plaintiff s falt.

                                                   23.

               Defendant QuikTrip is responsible for the conduct of employees and agents under the

        doctrine of respondent superior, agency, or apparent agfrcy.

               This 3'd day of August,2021.

                                                      PAY-I{E & DU TOIT

                                                        /s/ Anne Marie du Toit
                                                      Anne Marie du Toit
                                                      Georgia Bar No. 213320
                                                      Catherine D. Payne
                                                      Georgia Bar No. 4639L1

                                                       2275Marietta Blvd NW
                                                      '9te.270-245
                                                      Atlanta,       GrA.    39l8j?9.12
                                                      cpalme@pdtfirm.com                        -
                                                      Atto    r n e1t s   fo r   P Ia   intif




                                                          5
       Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 6 of 41
                                                                                                E-FILED IN OFFICE. EP
                                                                                              CLERK OF STATE COURT
                                                                                          GWINNETT COUNTY, GEORGIA
                                                                                                    21.c.05742€3
                                                                                                8131202112:38 PM
                                                                                              TIANA P. GARNER, CLERK

                      IN TIIE STATE COI.JRT OF GWINNETT COUNTY
                                  STATE OF GEORGIA

 MARISOL VACA as natural parent, guardian,
 and next friend of Minor Y.G.V.,
                                                         JI]RY TRHL DEMANDED
                            Plaintiff,

 vs.                                                     CIVL ACTION 21 C{t5742€3
                                                         FILE NO.
 QUTKTRIP CORPORATION,

                            Defendants



        PLAINTTFF'S FrRST CONTTNUING TNTERROGATORTEp TO OqIKTRTP
                               CORPORATION

         COMES NOW Plaintiff Marisol Vaca      as   natural parent, guardian, and next friend of minor

Y.G.V. (hereinafter'?laintiff'), and pursuant to the provisions of O.C.G.A. $ 9-l l-33 serves upon

Defendant QUIKTRIP CORPORAfiON (hereinafter "QuikTrip" or "Defendant") the following

Interrogatories, and requests Defendants to answer said Interrogatories fully and in writing within

the time allowedby law.

                           TNSTRUCTTONS        AI\p pEFINTTTONS

        These Interrogatories are continuing, and     if at any time after Defendants   have initially

responded    to these Interogatories, new or additional information responsive to any of        these

Interrogatories comes to the attention of or into the actual and/or constructive possession         of

Defendants within the scope of O,C.G,A. $ 9-11-26, then Defendants are accordingly required to

furnish such new or additional infomration to Plaintiff and to file and serve upon counsel for

Plaintiff supplemental responses to these interrogatories.

        A.      When used     in   these interrogatories, the tErms       "@!p,"        "DgfudalL"

"Defendants."   '@,"'!g,n'or       any synonym thereof, are intended to and shall embrace and
    Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 7 of 41




include each of the Defendants designated in the Complaiirt unless othenrise specified. In addition,

these terms are meant specifically to incorporate and encompass agents, servants, employees,

represe,ntatives, private investigators, attomeys and others who arE in possession of or may have

obtained information for or on behalf of Defendants, individually and collectively.

       B.      '?laintiff'or'?laintiffs"   means   PlaintiffMarisol Vaca as natural parent, guardian,

and next friend of minor   Y.G.V..

       C.      "subject Premises" means QuikTrip Store No. 7l4,the retail premises located at

1515 Beaver Ruin Road, Norcross, GA 30093.

       D.      "subject Incident" meane the fall deecribed in PlaintifFs Complaint thot took place

on 6113/2020 at the Subject Premises.

       E.      The temrs "identification," "identi&o'or "identity," when used in reference to a

natural person, shall mean to state the full name, the present or last known home and business

addresses, home and business telephone numbers,          their employer and job title and present

whereabouts for each such person.

       F.      Thc tcrms "idcntification,"   "idcntif," or *idcntity" whcn uscd in rcfcrcncc to a
corporation or other entity orperson, shall mean to state the full legal narne, state of incorporation

or organization, address of the home office, the prinoipal place of business and registered agent

for service ofprocess.

       G:      The terrrs "identification," "identiff," or'ldentity," when used in referEnce to       a


document or file shall mean its author, the menner and date or time period in which      it originated,

was developed or kept, its original location, its present location, and all persons who have been

custodian of the document or file. Such identification shouldbe made with a significant level        of

particularity to enable you to respond to a request to produce same.



                                                   2
     Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 8 of 41




       H.      The words "related to" or "relating to" shall include pertaining to" concerning,

respecting, referring to, summarizing, digesting, embodying, reflecting, establishing, tending to

establish, derogating from, tending not      to establish, evidencing, comprising, concemed with'

commencing on, responding to, disagreeing with, showing, describing, analyzing, representing,

constituting, or including.

       L       The words "document" or "docum€nts" are used in their broad and liberal sense

and shall mean the original (or,   if the original is not available, the best   copy available) of any and

all information in tangible or other form and shall include, without limiting the generality of the

foregoing, all'letters, correspondence, contacts, agreements, memoranda, mechanical and

electronic recordings, calendar an diary entriesn notes or memoranda of conversations, lelephonic

or otherwise, and of meetings or conferences, studies, reports, recommendations, quotations,

offers, inquiries, bulletins, summaries, newsletters, compilations, specifications, maps, charts,

blueprints, diagrams, graphs, photographs, pictues, film, videotapes, microfilm, propositions,

articles, announcements, newspaper clippings, books, books             of   account, ledgers, vouchers,

canccllcd chccks, invoiccs, bills, rcccipts, opinions, ccrtificatcs, and writings of any kind, and all

other tangible things upon which any handwriting, typing, printing, drawings, representation,

photostatic or other copy, or other graphic natter, magnetic or electrical impulses, or other form

of communication is reoorded or produced, including audio and video recordings and computer

stored infomration, whether or-not in printer fonn and all rough drafts'and revised drafts (including

all handwritten notes or other marks on same), and all other drafts and copies of documents             as


hereinbefore defined by whatever means made.        If multiple copies of a document exist,     each copy

which is being identified, produced, or identified as a privileged document shall also be produced

or so identified. Also to be identified or produced are all documents clipped, stapled, or otherwise



                                                     3
    Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 9 of 41




attached to all described or requested documents.

       J.        The words "person" or "persons" mean all natural persons ("individual" or

"individuals') and entities including without limitation: corporations, companies, parhrerships,

limited parfrrerships, joint ventures, tnrsts, estates, associations, public agencies, departnents,

bureaus or boards-

       K.        A "communication" shall      mean every manner or means of disclosure, transfer, or

exchange of infomration whether orally or face-to-face or by telephone, mail, personal delivery,

documents, and otherwise.

       L.        The words "a$d" as well as "or" shall be constrred either conjunctively or

disjunctively   as   necessaryto bring within the scope of these interrogatories any infomration which

might otherwise be construed to be outside their scope.

       M.        "All"   includes the word "any," and "any" includes the word "all." "Each" includes

the word "every" and "every" includes the words "each,"

       N.        Should Defendants claim as privileged any document for which identification is

rcqucstcd by any of thc following intcrrogatorics, Dcfcndanls shall list cach such documcnt in such

a manner to allow for its identification in the event of a motion to compel and, additionally,

Defendants shall indicate the ground on which the claim of privilege, the date, author and title     of

each document, the portion of the document to which the claim      ofprivilege extends and the identity

of ali persons, corporations or othbr entities'to whom the docunient has been shown, in order that

the Court can determine whether such document is, in fact, privileged.

       O.        If you cannot answer     any of the following interrogatories in fulI after exercising

due diligence to secure the information to do so, so state and answer to the extent possible,

speci&ing yoru inability to answer the remainder, and stating what information or knowledge you



                                                     4
    Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 10 of 41




have concerning the unanswered portions.

                                        INTF'RROGATORII'$

                                                   l.
          Please provide your   full corporate   neme, your primary or principal address, your state   of

incorporation, the date you opened the QuikTrip store located            at 1515 Beaver Ruin Road"

Norcross, GA 30093, in Gwinnett County, the names and addresses of your corporate presidenl

vice-president, secreta4/, and teasurer, and the names and current add'resses of each manager

working at or assigned to the store at issue in this litigation.

                                                   2.

          IdentiS all persons who have investigated the subject incident or have discussed the subject

incident on your behalf with your representatives, attorneys, or insurers.

                                                   3.

          Do you contend that you bave bee,n improper$ named in the sense that the inconect

corporate entity has not been properly styled in the caption of this matter and/or that an improper

or incorrcct agcnt for scrvicc was utilizcd to cffcchratc scrvicc upon you?    If your answcr to,cithcr

of these inquiries is '!es," please provide a deAiled explanation as to why you contend you have

been improperly narned or the agent used for service was improper, and provide the complete name

of the entity you contend should have named and/or served.
                                           -4.
          Do you contend that venue is improper in this Court, jurisdiction is lacking over you in this

Cburt, or that scrvicc ofproccss has bccn dcficicnt on you in this mattcr? If so, plcasc dcscribc and

state   with specificity all factual and legal bases supporting any such contention(s).




                                                        5
    Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 11 of 41




                                                 5


          Other than your response to lnterrogatory No. 4, do you contend that there are any factual

or legal bases upon which this matter should be dismissed as a matter of law? If so, please identifr

any such contentions and describe and state with specificity all facnral and legal bases supporting

any such contention(s).

                                                  6.

          Please    identiff any manuals utilized in haining Defendants' employees which reference

safety procedures for customers and/or items sold in Defendants' stores in Georgia.

                                                  7.


          Plea.se   identiff every person who has any information about how or why the incident

complained of in this case occurred, about who was at fault or in any way responsible for causing

this incident, and about any other information periaining to the issues of liability and./or damages

in this   case. Please include a   brief description of the nature of such person's knowledge; for

example: eyewitness, investigating police officer, mcdical personnel, etc.

                                                  8.


          Please state whether any   of the above witnesses gave any statement(s) or account(s), either

orally, in writing, or recorded in any way, of his or her knowledge of any information relevant in

this lawsuit. If so, identifu any witness(es) giving such statement(s) and provide an explanation     of

the type statement(s) given, whether oral; written, recorded or videotaped. Also;    identiff   the taker

and present custodian of such statement(s).




                                                       6
    Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 12 of 41




                                               9"


       Please   identiff all persons (whether medical providers, lay persons, or anyone else) who

havc any rclcvant information rcgarding Y.G.V.'s health condition prior to or subsequent to thc

incident in this case, infonnation regarding Y.G.V.'s physical and mental suffering as a result of

this incident, or any infomration regarding the issue of damages in this case.

                                               10.


       Please   identiff any and all investigators, adjusters, claims representatives, or experts who

have investigated the Subject Inciden! examined or inspected the scene, or who have in any way

investigated thc claims made in this lawsuit on behalf of you, your attorneys, or your insurers.

                                               11.

   .   Please   identi$ any person that you expect to call as an expert witness, whether live, by

affidavit, or by deposition, in connection with any frial, hearing, or motion,   as   well   as any other


evidentiary hearing in this action, and, separately for each expert:

           a)   Identi.ff the subject matter of which he or she is expected to testi$;

           b)   Idc,ntiS thc substancc of thc facts and opinions as to which hc or shc is cxpcctcd

                to testiS;

           c)   Summarize the grounds for such opinions; and

           d) Identi$ all documents     and professional references upon which such person may

                'base his or her testirnony and'opinions




                                                     7
    Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 13 of 41




                                                   12.

       Please list each act of negligence, contributory negligence, or comparative negligence you

contond Plaintiff or any other person who is not a party to this action did or failed to do which in

any way contributed to causing the subject incident and/or any ofY.G.V.'s injuries. Please         identi$

these persons and supply any statutory authority in support of these contentions,       if   any are made.

                                                    13.


       Please state whether or not you, your attorneys, investigators, or other representatives knorit

of any photographs, still or motion pictures, plans, drawings, blueprints,           sketches, diagrams,

computer simulations, or any other type demonstative evidence conceming the subject incident,

the site ofthe subject incident, which in any way illustate any facts relevant to the subject incident.

As to each item, please state the nature of such item(s); how many of such item(s) exist; the nafile,

address, and employer of the person making or supplying such item(s); and the identity               of the

person who presently possesses such item(s).

                                                    t4.

        Was Y.G-V.'s fall capturcd or rccordcd on vidcotapc in any way on any sccurity and/or

sgrryeillance cameras?   If   yes, please   identiff all persons who are currently in possession of such

videotapes.

                                                    15.

       Please-state.whether or not'an'accidenVincident report'was made'by you'or any-of               your"-

representatives in connection with the Subject lncident, and        if   so, to whom that report was sent

and the place where such report is located.




                                                          8
    Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 14 of 41




                                                      16.

       Please state       in detail how you contend the Subject Incident 0ook place and the order in

which the events took place.

                                                      17.

       At the time of Y.G.V.'s injury, do you contend that any person or entity other than you and

your employees and agents was responsible for the cleaning and maintenance of the Subject

Premises?   If   so, please state each and every fact on which you base your contention, and      identiff

each and every writing that supports the contention.

                                                      18.


       Please         identiS each and evely procedure manual, letter, memo, inskuction manual and

other writing that pertain to or concern in any way the cleaning and aisle maintenance of the

Subject Premises.

                                                      19.


       On the date of the Subject Incident, how frequently was the area cleaned where the incident

allegedly occured?

                                                      20.

       Please provide the name             of the employee(s) responsible fe1 saintaining the condition of

the store floor during the date and time of the alleged incident.




       On the date of the alleged incident, was the area where the incident occurred stocked or re-

st,ockcd, and    if   so, at what timcs?




                                                            9
    Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 15 of 41




                                                    22.

        What equipment is used to clean, pressure wash, or mop the area where the incident

occurred?

                                                    23.

        For each of your employees physically present at the QuikTrip store at issue in this

litigation at thc timc and placc of thc incidcnt, plcasc statc his or hor namc, addrcss, and tclcphonc

number; his or her job title as of the date of the incident; whether she or he was on duty at the time

of the incident; and the job function she or he was performing at the time of the incident-

                                                    24.

         Identiff, with sufficient particularity to allow Y.G.V. to frame          a notice   to produce, any

writings, including sweep sheets and maintenance logs, which support yow answer to

Interrogatory No. 19.       If   said writings contain abbreviations or initials, define the abbreviations

and state the   full   name, address, and telephone number of the person whose name is signified by

the initials.

                                                    25.

         Please describe all policies and procedures, including inspection and cleaning procedures,

you had in place on Jwre 13,2020 to ensure the reasonable safety of customers and invitees using

the premises at the QuikTrip store at issue in this litigation.

                                                    26.

         Please provide the date and time you were             first notified that there had been a fall with

iqjurics on Junc l3,2O2O involving t.O.Y.,and includc thc namc and addrcss of thc pcrson who

notified you, the name and address of the person(s) at Defendant QuikTrip who was or were in

fact notified, and your response to that notification.



                                                          t0
         Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 16 of 41




                                                         27,

             Please describe all safety precautions or other affirmative steps you took on June 13, 2020

     to reasonably ensure the safety in and around the area where thE incident at issue in this litigation

     occurred in the QuikTrip store at issue in this litigation.

                                                         28.

             Please   identi$ by full niulle, date of hire, job title, and current employment status,           each


     and every employee and/or agent of Defendants who had responsibility for inspecting, cleaning,

     wa:ning about potentially hazardous conditions of, or otherwise reporting problems with the area

     in and around where Plaintiff in the Subj ect Premises on June         13   , 2020 '

                                                         29.

             For each employee and/or agent of Defendants identified in response to the previous

     interrogatory, please state whether          or not said individual was reprimanded,           suspended, or

     otherwise punished as    a   result ofthe subject incident. If an individual was reprimanded suspended,

     or otherwise punished in any way, please describe such action fully (to include the date such action

     was takcn).

                                                         30.

             Please    identiff   each and every claim, lawsuit, complaint,        or other documented incident

     ove.r the past   five (5) years in which an individual alleged that Defendants caused or contributed

-   - to-personal'injuries sustained     by said individual inz slip, fall, frip; or-other-similar incident in-the

     Subject Premises.

                                                         31.

             Please identifu       all   persons who are supplying information              to   respond   to   these


     Interrogatories and to Plaintiffs' Request for Production of Documents.



                                                               il
     Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 17 of 41




                                                32.

       Do you contend that Y.G.V. did not fall at the place and time alleged in the Complaint?            If
your answer is in the affirmative, please:

           e)   State each and every fact on which you base the contention;

           0    State the name, address, telephone number of each witoess whose testimony would

                suPPort the contention;

           g)   Identifu with sufficient particularity to allow Plaintiffs to frame   a   notice to produce,

                each and every writing that supports the contention.

                                                33.

       Please detail the fachral and legal basis for each defense pled in your answer.

       This 3'd day of August,202L.



                                                PAYNE & DU TOIT

                                                   /s/ AnLe Marie du Toit
                                                Anne Marie du Toit
                                                Georgia Bar No. 213320
                                                Catherine D. Payne
                                                Georgia BarNo. 463911

                                                227lMarietta Blvd NW
                                                Ste.270-245
                                                Atlanta, GA 30318-2019
                                                adutoit@pdtfi.rm.com
                                                cpayne@pdtfitm.com-

                                                Attomeysfor Plaintiff




                                                      l2
   Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 18 of 41
                                                                                                     EfILED IN OFFICE - EP
                                                                                                   CLERK OF STATE COURT
                                                                                               GWINNETT COUNTY, GEORGIA
                                                                                                           2lc-05742-S3
                                                                                                        8131202112:38 PM
                                                                                                      TIANA P. GARNER, CLERK

                      IN THE STATE COURT OF GWINNETT COI.]NTY
                                 STATE OF GEORGIA

 MARJSOL VACA as natural parent, guardian,
 and next friend of Minor Y.G.V.,
                                                              JIJRY TRIAL DEMANDED
                             Plaintiff,

 vs.                                                          CIVIL ACTION 21.C.0s742€3
                                                              FILE NO.
 QUIKTRIP CORPORATION,
                             Defendants.




       PLATNTTFF'q FrRST REOLTqST FOR PRODUCTION 9F DOCTIMENTS TO
                          ourKTRrP CoRPoRATTON

       COMES NOW PlaintiffMarisol Vaca               as   natural par€nt, guardian, and next friend   of

Minor Y.G.V., (hereinafter'?laintiff'), and pursuant to O.C.G.A. $9-11-34 hereby notifies

Defendants QuikTrip Corporation (hereinafter "QuikTrip"             or'Defendanf)    to produce within the

time altotted by law or at the time of any deposition, hearing, ot trial, in the above-styled case,

whichever is sooner, the following documents, records, and things which are in Defendants'

possession, custody or   contol, the sane to   be used as evidence by       Plaintiff. Said documents,

records and things produced in response should be served upon counsel for Plaintiffby first class

U.S. Mail orby statutory overnight delivery to the offices of Payne & du Toit, 2275Maietta

Blvd NW, Suite 270-245, Atlanta, Georgia 30318.
                                              pEFTMTIONS
                            ${STRUCTTOI$S ANp

       These Requests are continuing, and      if   at any time after Defendants have   initially responded

to these Requests, new or additional information responsive to any of these Requests comes to the

attention of or into the actual and/or constuctive possession of Defendants within the scope of

O.C.G.A. $ 9-l l-26, then Defendants are accordingly required to fumish such new or additional
       Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 19 of 41




    information to Plaintiff and to file and serve upon counsel for Plaintiffsupplemental responses to

    these Requests.

            A.      When used in these Requests, the terms       "Qgj!!{p"    "@L"           "@dbg!L"
    'Vou."'!our."     or any synonym thereof, are intcnded to and shall embrace and include each of the

    Defendants designated in the Complaint unless otherwise specified. In addition, these terms are

    meant specifically to incorporate and encompass agents, servants, employees, representatives,

    private investigators, attomeys and others who are in possession of or may have obtained

    information and/or documentation for or on behalf of Defendants, individually and collectively.

            B.      "Plaintiff'or'?laintiffs"meansPlaintiffTamikaRobinson.

            C.      "subject Premises" means QuikTrip Store No.        l|4,lhe   retail premises located at

    l5l5   Beaver Ruin Road, Norcross, GA 30093.

            D.      "subjoct Incident" means the fall described in Plaintiffs Complaint that tookplace

    on June 13,2020 atthe SubjectPremises.

            E.      The tenns 'tdcntification," "identi$" or "identity," when used in reference to            a


    natural pc,rson, shall rncan to statc thc full nnlrrc, thc prcscnt or last known homc and busincss

    addresses, home and business telephone numberc,           their employer and job title and present

    whereabouts for each such person.

            F.      The terrrs "identification," "identifu," or "identity" when used in reference to a

.   corporation or other entity or persog shal.l mean to-state the full. legal name; state of incorporation

    or organization, address of the home office, the principal place of business and registered agent

    tt**;
                 "T"
                          Ls    ..identification,n, ..identifu,,, or ..id.otiry,:,when used in reference to   a


    document or file shall mean its author, tbe manner and date or time period in which        it originate{


                                                       2
        Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 20 of 41




     was developed or kept, its original location, its present location, and all persons who have been

     custodian of the document or file. Such identification should be made with a significant level       of

     particularity to enable you to respond to a request to produce same.

            H.      The words "related to" or "relating to" shall include pertaining to, concerning,

     respecting, referring to, summarizing, digesting, embodying, reflecting, establishing, tending to

     establish, derogating from; tending not      to establish, evidencing, comprisin& concemed with,

     commencing on, responding to, disagreeing with, showing, describing, analyztng, representing,

     constihrting, or including.

            L       The words "documenf' or "documents" are used in their broad and liberal sense

     and shall mean the original (or,   if the original is not available, the best copy available) of any and

     all information in tangible or other form and shall include, without limiting the generality of the

     foregoing,   all   letters, correspondence, conhacts, agreements, memoranda, mechanical and

     electronic recordings, calendar an diary entries, notes or memoranda of conversations, telephonic

     or otherwise, and of meetings or conferences, studies, reports, recommendations, quotations,

     offcrs, inquirics, bullctins, summarics, ncwslcttcrs, compilations, spccifications, maps, charts,

     blueprints, diagrams, graphs, photographs, pictures, film, videotapes, microfilm, propositions,

     articles, announcements, newspaper clippings, books, books            of   account, ledgers, vouchers,

     cancelled checks, invoices, bills, receipts, opinions, certificates, and writings of any kind, and all

'-
     ottiei tangiblc'things 'upon-which any-handwriting, -typing, printing,'drawings,--representatio4

     photostatic or other copy, or other graphic matter, magnetic or electrical impulses, or otlrer form

     of communication is recorded or produced, including audio and video recordings and computer

     stored information, whether or not in printer form and all rough drafts and revised drafts (including

     all handwritten notes or other marks on same), and all other drafts and copies of documents           as




                                                         3
   Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 21 of 41




hereinbefore defined by whatever means made.If multiple copies of a document exist, each copy

which is being identified, produced, or identified as a privileged document shall also be produced

or so identified. Also to be identified or produced are all documens clipped, stapled, or otherwise

attached to all described or requested documents.

       J.       The words "person" or "persons" meen all natural persons          f individual"    or

"individuals') und entities including without limitation: corporations, companies, parherships,

limited parlnerships, joint ventures, trusts, estates, associations, public agencies, departments,

bureaus or boards.

       K.       A "communication" shall mean every manner or means of disclosure, transfer, or

exchange of information whether orally or face-to-face or by telephone, mail, personal delivery,

documents, and otherwise.

       L.       The words "and" as well as "or" shall be construed either conjunctively or

disjunctively as necessary to bring within the scope of these interrogatories any information which

might otherwise be constnred to be outside their scope.

       M.       "All"   includcs thc word "anlo" and "any" includcs thc word "all." "Each" includcs

the word'oevery" and "every" includes the words "each."

       N.       Should Defendants claim as privileged any document for which identification is

requested by uny of the following Requests, Defendants shall list each such document in such a

maIurer   to allow-for its-'identification-in the'event-of a motion to-compel-and; additionally,

Defendants shall indicate the ground on which the claim of privilege, the date, author and title   of

each document, the portion of the docunent to which the olaim   ofprivilege extends and the identity

of all persons, corporations or other entities to whom the document has been shown, in order that

the Court can determine whether such document is, in fact, privileged.



                                                  4
    Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 22 of 41




       O. If you cannot produce documents,               records, or things   in   response   to any of the

following requests in full after exercising due diligence to secure the information to do so,       so state


and answer to the extent possible, speci$ing your      inability to produce any documents, records, or

things, and stating what information or knowledge you have concerning the docu:nents, records,

or things that were not produced.

       Pursuant to the above, Plaintiffhereby requests Defendants produce the following:

                                    REOUESTS TO PRODUCE

                                                    I.

         Please produce true, accurate and complete copies of all witness statements obtained from

 any person, including Y.G.V. and members of her family, abodt any information relevant to any

 issue in this lawsuit, or the subject incident, including but not limited to the issues of liability or

 damages.

                                                   2.

         Please produce true, accurate and complete copies        of any photographs, still or motion

 picfurcs, plans, drawings, blucprints, skctchcs, diagrams, computcr simulations, or any othcr

 photographic, demonstrative      or tangible   evidence concerning the subject incident and/or

 concenring any of the issues relevant in this lawsuit, to include but not to be limited to the issues

 of liability and damages.

                                                   3.

         Please produce a true, accurate and complete copy of any incident report prepared by you

 or on your behalf concerning the subject incident and/or any claim or potential claim arising of

 said incident.




                                                   5
  Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 23 of 41




                                                      4

       Please produce a true, accurate and complete copy           of all policies of insurance, including

the declarations pages that do or may afford liability insurance coverage to Defendants for the

claims made in this lawsuit. This request includes primary insurance coverage, excess insurance

coverage, umbrella coverage or any other t1rye of liability insruance coverage.

                                                       5.

       Please produce bue, accurate and complete copies of all reports received from any experts

who have investigated any issue relevant to the subject incident. Also, produce all documents or

other material or information in any form submitted to, or received from, each expert for their

consideration in formulating their opinions and conclusions.

                                                       6.



       Plbase prodirce a true, accurate and complete copy          of all claims'forms, acciilisnt reports,

incident reports or other documentation by any other name evidencing any other incidents over

the past five (5) years in which an individual alleged that Defendang, its employees, and/or agents

caused or contributed to personal injuries sustained in a slip, fall, trip, or other similar incident    in

the Subject Premises.

                                                       7.

       Please produce       tue,    accruate and complete copies   of any and all information sent to or

received from or through any of your insurers conceming the incident giving rise to this litigation,

including but not limited to documents in the possession of your liability insurer with respect to

the issue of   liability in this   case. This request is to include any and all documents sent by you or

sent on your behalf by someone other than yourself.




                                                      6
  Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 24 of 41




                                                   8.


           Please produce a true, accurate and complete copy of any report or statement made by

you and given to the police, to any insurer, or to any other person or entity concerning the subject

incident.

                                                   9.


           Please produce true, accurate and complete copies of any and all photographs, documents,

or demonstrative evidence relevant to any of the issues in this lawsuit and/or that you intend to

use in the defense of this case at trial.

                                                   10.

           Please produce true, accurate and complete copies       of any and all   evidence   in your

possession to include documents, medical records, photographs, sound or video recordings, or

any documentation by any other name that concems Y.G.V.'s physical or medical condition,

injwies or damages that has not been supplied to you by Plaintiffs' counsel.

                                                   11.


           Plcasc producc a tn'lc, accuratc and complctc copy of any vidcotapc on which Y.G.V.'s

fall was recorded or captured in any way on any of the store's security and/or surveillance

cameras.

                                                   12.

           Please produce a true, accurate and           gopy_   of any-reservation.of rights letter'or   *-
other documentation of any kind received from any insurer that purports to deny insurance

coverage, or to reserve the right to contest the issue of coverage, for the claims made in this

lawsuit.




                                                  7
   Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 25 of 41




                                                  13.


        Please produce frue, accurate and complete copies of any and all documents filed as a

part of an insurance claim with any insurer relating to the incident at the basis of this lawsuit.

                                                  14.

        Please produce Oue, accurate and complete copies of any aud all documents that support,

are referred to, or otherwise pe(ain to any     of your   responses to   Plaintiffls First Continuing

Interrogatories, identi$ing which interrogatory.r€sponse each document supports, is referenced,

or otherwise pertains.

                                                  15.

        Please produce true, accurate and complete copies of auy and all policies and procedures

in effect as of January L,2019, through the present date, which policies and procedures relate in

any way to the inspecting, cleaning, or waming of potentially hazardous conditions of, or

otherwise reporting problems with the floors, aisles, checkout areas, or other areas in the store at

issue in this litigation

                                                  16.


        Please produce tme, accurate and complete copies of any documents, sheets or checklists,

by whatever known or called, which listed, described, documented or otherwise recorded the

number and times that the premises of the store at issue in this litigation was inspected on June

t3,2429.

                                                  17.

        Please produce true, accurate and complete copies of any time sheets, pay stubs or other

documents showing the number of hours worked, by whatever name known or called, for each

and every employee and/or agent    ofDefendants'working at the store at issue in this litigation on



                                                 8
 Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 26 of 41




June 13,2020.

                                                       18.

         Please produce      a tnre, accurate and complete copy of Defendants' employee                      and

management handbooks (by whatever name known or called) or other similar documents in effect

as   of January   l,20l9   through the present date.

                                                       19.


         Please produce tnre, accurate and complete copies                 of any and all training      materials

provided to any employees, managers and/or agents who were expected to work at the store at

issue in this litigation as of January   l,2Ol9 tbrough        the present date.

                                                       20.

         Please produce true, accurate and complete copies of any and all waming signs or placards

used to inform customers and invitees at the store at issue that the parking lot in and around the

area, section or aisle     of the store where the incident at issue in this litigation occurred              was

hazardous.

                                                       2r.

         Please produce any and all inspection and sweep logs for the area in and arormd the specific

area of the parking lot where the incide,nt at issue       in this litigation   as   of June 13,2020, and for one

week before and after that date.

                                                       22.

         Please produce all documents or logs which contain Defendants' written policy on the

frequency of pressure washing, cleaning, and maintaining the area of the parking lot at issue in

this litigation where Y.G.V. fell.

                                                       23.



                                                       9
  Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 27 of 41




       Please produce all logs which reference the frequenry of patrolling the area of the parking

lot at issue in this litigation where Y.G.V. fell for the date of June 13,2020 and for one week before

and afterthatdate.

                                                     24.

       Please produce all analyses, grading and/or evaluations    of the completion of the inqpection

logs conducted for the purpose of determining whether inspection of the parking lot at issue in this

litigation conformed with Defendants' polioy.

                                                     25.

        Please produce Defendants' document retention policy with respect to the store at issue

in this litigation's incident reports for the time period of the subject incident.

                                                     26.

        Please produce a blank copy    of the incide,nt report fomr utilized at the time of the subject

accident as well as any other fomrs generated at the store level which accompany the transmission

of the incident r€port to the next reportinglevel.

                                                     2?.

        Please pr3duce fiue, accurate and complete copies of any documents that support specific

defsnses pled in your answer, identifoing the defense to which each document pertains.




                                                     l0
Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 28 of 41




  This 3'd day of August,202l.



                                 PAYNE & DU TOIT

                                  ./s/Anne Marie duToit
                                 Anne Marie du Toit
                                 Georgia BarNo. 213320
                                 Catherine D. Payne
                                 Georgia BarNo. 463911

                                 22TSMaiettaBlvd NW
                                 Ste.27O-245
                                 Atlanta, GA 30318-2019
                                 adutoit@pdtfirm.com
                                 cpaSm.e@pdtfimr.com

                                 Attorneysfor Plaintiff




                                   1l
      Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 29 of 41 E-FILED IN OFFICE - AK
                                                                                       CLERK OF STATE COURT
                                                                                   GWINNETT COUNTY, GEORGIA
                                                                                           21-C-05742-S3
                                                                                        8131120212:59 PM
                                                                                      TIANA P. GARNER, CLERK

                    IN THE STATE COURT OF GWINNETT COUNTY
                                   '   STATE OF GEORGIA

 MARISOL VACA AS NATURAL
 PARENT, GUARDIAN, AND NEXT                  )
 FRIEND OF MINOR Y.G.V.,                     )
                                             )
                  Plaintiffs,                )                 CNIL ACTION
 v.                                          )
                                             )            FrLE NO. 2l-C-05742-53
                                             )
 QUIKTRIP CORPORATION,
                                             )
                 Defendant.                  )
                                             )


                     DEMAND FOR TWELVE MEMBER JURY TRIAL

        COMES NOW, Defendant QUIKTRIP CORPORATION, appearing specially and without

submitting to the jurisdiction and venue of this Court, and demands a trial by a twelve member

jury in the above styled action.

                                            Respectfully submitted,

                                            DOWNEY & CLEVELAND, LLP


                                                   /s/ Sean T.. Hvnes
                                                   Sean L. Hynes
                                                   Georgia State Bar No. 381698
                                                   hynes@downeycleveland. com
                                                   Attomeys for Defendant


Downey & Cleveland, LLP
288 Washington Avenue
Marietta, GA 30060-1 979
T:770-422-3233
F:770-423-4199
     Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 30 of 41




                                CERTIFICATE OF SERVICE

       This is to certi$ that I have this day served the following counsel of record with a true and

correct copy of the foregoing pleading via electronic service andlor by depositing said copy in the

United States Mail, with sufficient postage affixed thereon, and properly addressed to the

following:

       Anne Marie du Toit, Esq.
       Catherine D. Payne, Esq.
       Payne & du Toit
       227 5 Marietta Blvd NW Suite    27   0-245
       Atlanta, Georgia 30318

       This 3l't day of August,202I

                                               DOWNEY & CLEVELAI\D, LLP


                                               By:   /s/ Sean L. Hyncs
                                                     Sean L. Hynes
                                                     Georgia State Bar No. 381698
     Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 31 of 41 E-FILED IN OFFICE - AK
                                                                                          CLERK OF STATE COURT
                                                                                      GWINNETT COUNTY, GEORGIA
                                                                                                21-C-05742-53
                                                                                            8131120212:59 PM
                                                                                          TIANA P. GARNER, CLERK

                   IN THE STATE COURT OF GWINNETT COUNTY
                                    STATE OF GEORGIA

MARISOL VACA AS NATURAL
PARENT, GUARDIAN, AND NEXT                       )
FRIEND OF MINOR Y.G.V.,                          )
                                                 )
                 Plaintiffs                      )               CNIL ACTION
v                                                )
                                                 )          FrLE NO. 2l-C-05742-53
                                                 )
 QUIKTRIP CORPORATION,
                                                 )
                                                 )
                Defendant.
                                                 )


            DEFENDANT'S NOTICE OF FILING ORIGINAL DISCOVERY

       COMES NOW, Defendant QUIKTRIP CORPORATION, appearing specially and without

submitting to the jurisdiction and venue of this Court, and files the following Original Discovery

with the Clerk of Court:

                                            t.

       Defendant's Responses to Plaintiffs' First Request for Admissions.

                                             Respectfully submitted,

                                             DOWNEY & CLEVELAND, LLP


                                                     /s/ Sean T.- Hvnes
                                                     Sean L. Hynes
                                                     Georgia State Bar No. 381698
                                                     hynes@downeycleveland.com
                                                     Attomeys for Defendant



Downey & Cleveland, LLP
288 Washington Avenue
Marietta, GA 30060-1979
T:770-422-3233
F:770-423-4199
     Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 32 of 41




                                CERTIFICATE OF SERVICE

       This is to certiff that I have this day served the following counsel of record with a true and

correct copy of the foregoing pleading via electronic service and/or by depositing said copy in the

United States Mail, with sufficient postage affixed thereon, and properly addressed to the

following:

       Anne Marie du Toit, Esq.
       Catherine D. Payne, Esq.
       Payne & du Toit
       227 5 Mafj'etta Blvd NW Suite 27 0-245
       Atlanta, Georgia 30318

       This 3l't day of August,2lTl.

                                              DOWNEY & CLEVELAND, LLP


                                              By      /s/ Sean L. Hvnes
                                                      Sean L. Hynes
                                                      Georgia State Bar No. 381698
        Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 33 of 41 E-FILED IN OFFICE. AK
                                                                                             CLERK OF STATE COURT
                                                                                         GWNNETT COUNTY, GEORGIA
                                                                                                   21-C-05742-53
                                                                                               A31nA212:59 PM
                                                                                            TIANA P. GARNER, CLERK

                      IN THE STATE COURT OF GWINNETT COUNTY
                                       STATE OF GEORGIA

 MARISOL VACA AS NATURAL
 PARENT, GUARDIAN, AND NEXT                      )
 FRIEND OF MINOR Y.G.V.,                         )
                                                 )
                    Plaintiffs,                  )                  CNIL ACTION
 V.                                              )
                                                 )             FrLE NO. 21-C-05742-53
                                                 )
 QUIKTRIP CORPORATION,
                                                 )
                                                 )
                   Defendant.
                                                 )


                   RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY

          Pursuant to Uniform State Court Rule 5.2, the undersigned hereby certifies that on the date

shown, Defendant QUIKTRIP CORPORATION, appearing specially and without submitting to

the   jurisdiction and venue of this Court, served copies of the following pleadings:

          1.     Defendant' s F irst Continuing Interro gatori es to P laintiffs ;
          )      Defendant's First Request for Production of Documents to Plaintiffs;
          a
          J.     Defendant's First Request for Admissions to Plaintiffs; and
          4.     Defendant's Responses to Plaintiffs' Request for Admissions.

by depositing same in the United States Mail, properly addressed and with sufficient postage

affixed thereon, to the following counsel of record:

          Anne Marie du Toit, Esq.
          Catherine D. Payne, Esq.
          Payne & du Toit
          2275Marietta Blvd NW Suite 270-245
          Atlanta, Georgia 30318

          This 3l't day of August,202l.
    Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 34 of 41




                                 Respectfully submitted,

                                 DOWNEY & CLEVELAIID, LLP


                                        /s/ Sean T.- Hvnes
                                        Sean L. Hynes
                                        Georgia State Bar No. 381698
                                        hynes @downeycleveland.com
                                        Attorneys for Defendant


Downey & Cleveland, LLP
288 Washington Avenue
Marietta, GA 30060-1979
T:770-422-3233
F:770-423-4199
     Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 35 of 41




                                       CERTIFICATE OF SERVICE

       This is to certiff that I have this day served the following counsel of record with a true and

correct copy of the foregoing pleading via electronic service andlor by depositing said copy in the

United States Mail, with sufficient postage affixed thereon, and properly addressed to the

following:

       Anne Marie du Toit, Esq.
       Catherine D. Payne, Esq.
       Payne & du Toit
       227 5 Marietta Blvd NW Suite 27 0-245
       Atlanta, Georgia 30318

       This   3   I't day of August,   2021   .



                                                  DOWNEY & CLEVELAIID, LLP


                                                  By   /s/ Sean T.. Hvnes
                                                       Sean L. Hynes
                                                       Georgia State Bar No. 381698
      Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 36 of 41 E-FILED IN OFFICE - AK
                                                                                              CLERK OF STATE COURT
                                                                                          GWNNETT COUNTY, GEORGIA
                                                                                                    21-C-05742-S3
                                                                                                8rc1120212:59 PM
                                                                                              TIANA P. GARNER, CLERK

                    IN THE STATE COURT OF GWINNETT COUNTY
                                     STATE OF GEORGIA

 MARISOL VACA AS NATURAL
 PARENT, GUARDIAN, AND NEXT                    )
 FRIEND OF MINOR Y.G.V.,                       )
                                               )
                  Plaintiffs,                  )                     CNIL ACTION
 V.                                            )
                                               )              FILE NO. 2l-C-05742-53
                                               )
 QUIKTRIP CORPORATION,
                                               )
                 Defendant.                    )
                                               )


DEFENDANT'S RESPONSES TO PLAINTIFFS' FIRST REOUEST FOR ADMISSIONS

       COMES NOW, Defendant QUIKTRIP CORPORATION, appearing specially and without

submitting to the jurisdiction and venue of this Court, and responds to Plaintiffs' First Request for

Admissions as follows:

                                    GENERAL OBJECTION

       Defendant objects to the Request for Admissions served by Plaintiffs along with the

Complaint on the grounds that     it is it is inappropriate for   Plaintiffs to serve such request for

admissions along with the complaint. See Perez v. Miami-Dade Cnty.,297 F.3d 1255,1266           (llth
Cir.2002). It is too early for Defendant, having not yet received the allegations, to perceive what

facts should or should not be contested, It is further inappropriate for Plaintiffs to re-serve the

complaint in the form of Request for Admissions in order to require Defendant to admit or deny

nearly every paragraph of a Complaint that it has already answered."      !!.
                                                   1.


       Defendant admits the averments contained         in paragraph 1 of Plaintiffs' Request for

Admissions.
     Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 37 of 41




                                          2.

       Defendant denies the averments contained ln paragraph 2    of Plaintiffs' Request for

Admissions.

                                          a
                                          J.

      Defendant admits the averments contained in paragraph J     of Plaintiffs' Request for

Admissions.

                                          4.

      Defendant denies the averments contained ln paragraph 4     of Plaintiffs' Request for

Admissions.

                                          5.

      Defendant admits the averments contained ln paragraph   5   of Plaintiffs' Request for

Admissions.

                                          6.

      Defendant admits the averments contained ln paragraph 6     of Plaintiffs' Request for

Admissions.

                                          7.

      Defendant denies the averments contained ln paragraph 7     of Plaintiffs' Request for

Admissions.

                                          8.

      Defendant denies the averments contained ln paragraph 8     of Plaintiffs' Request for

Admissions.
     Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 38 of 41




                                           9


      Defendant denies the averments contained   in paragraph 9 of Plaintiffs' Request for

Admissions.

                                           10


      Defendant denies the averments contained in paragraph 10 of Plaintiffs' Request for

Admissions.

                                           ll
      Defendant denies the averments contained in paragraph 11    of Plaintiffs' Request for

Admissions

                                           12.

      Defendant denies the averments contained in paragruph 12 of Plaintiffs' Request for

Admissions

                                           t3,

      Defendant denies the averments contained in paragraph 13 of Plaintiffs' Request for

Admissions.

                                           14.

       Defendant denies the averments contained in paragruph 14   of Plaintiffs' Request for

Admissions.

                                           15.


       Defendant denies the averments contained in paragraph 15 of Plaintiffs' Request for

Admissions
     Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 39 of 41




                                           t6

      Defendant denies the averments contained in paragraph 16 of Plaintiffs' Request for

Admissions.

                                           T7


      Defendant denies the averments contained in paragraph 17 of Plaintiffs' Request for

Admissions.

                                           18.


      Defendant denies the averments contained in paragraph 18 of Plaintiffs' Request for

Admissions

                                           t9

      Defendant denies the averments contained in paragraph 19   of Plaintiffs' Request for

Admissions

                                           20

      Defendant denies the averments contained in paragraph 20   of Plaintiffs' Request for

Admissions.

                                           21.

      Defendant denies the averments contained in paragraph   2l of Plaintiffs' Request for
Admissions.

                                           22

       Defendant denies the averments contained in paragraph 22 of Plaintiffs' Request for

Admissions.
    Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 40 of 41




                                          23

      Defendant denies the averments contained in paragraph 23 of Plaintiffs' Request for

Admissions

                                        Respectfully submitted,

                                        DOWNEY & CLEVELAND, LLP


                                        By:    /s/ Sean L. Hynes
                                               Sean L. Hynes
                                               Geqrgia State Bar No. 381698
                                               hynes@downeycleveland. com
                                               Attorneys for Defendant


Downey & Cleveland, LLP
288 Washington Avenue
Marietta, GA 30060-1979
T:770-422-3233
F:770-423-4199
     Case 1:21-cv-03620-WMR Document 1-2 Filed 08/31/21 Page 41 of 41




                                CERTIFICATE OF SERVICE

       This is to certifu that I have this day served the following counsel of record with a true and

correct copy of the foregoing pleading via electronic service and/or by depositing said copy in the

United States Mail, with sufficient postage affixed thereon, and properly addressed to the

following:

       Anne Marie du Toit, Esq.
       Catherine D. Payne, Esq.
       Payne & du Toit
       227 5 Mafietta Blvd NW Suite 27 0-245
       Atlanta, Georgia 30318

       This 3l't day of August,202I

                                              DOWNEY & CLEVELAIID, LLP


                                              By:     /s/ Sean .- Hvnes
                                                      Sean L. Hynes
                                                      Georgia State Bar No. 381698
